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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA
                              MONROE DIVISION


  VANESSA GREEN, ET AL                              CIVIL ACTION NO.
                  Plaintiffs
                   v.                               JUDGE ________________
  CORNERSTONE HOSPITAL OF WEST                      MAG. JUDGE ____________
  MONROE
                          Defendant


                                  NOTICE OF REMOVAL

  TO:    THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF LOUISIANA

         NOW INTO COURT, comes Defendant, Cornerstone Hospital of West

  Monroe, LLC, improperly named in Plaintiffs’ Petition as Cornerstone Hospital of West

  Monroe, and pursuant to 28 U.S.C. §1441, with full reservation of rights and defenses,

  respectfully submits this Notice of Removal of a civil action currently pending against it

  in the 4th Judicial District Court for the Parish of Ouachita, State of Louisiana.

         In support of this removal notice, Cornerstone states:

                                               1.

         Cornerstone Hospital of West Monroe, LLC has been made a defendant in a

  civil action pending in the 4th Judicial District Court for the Parish of Ouachita, State of

  Louisiana, captioned as: Vanessa Green, Tawatha Green, Tony Green and Iesha Green,

  Individually and on Behalf of Their Deceased Father, James Quinn and/or the Unopened

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  Succession (Estate) of James Quinn v. Cornerstone Hospital of West Monroe, and

  bearing Docket No. 14-0610 (C3).

                                                2.

          Cornerstone Hospital of West Monroe, LLC first received notice of this suit on

  or about March 14, 2013, when it was served, through C T Corporation System, with a

  copy of the Plaintiffs’ Petition for Damages.

                                                3.

          Cornerstone Hospital of West Monroe, LLC did not receive notice of the

  lawsuit before March 14, 2014, the date on which Plaintiffs’ Petition for Damages was

  filed in state court.

                                                4.

          This removal notice is being filed within thirty (30) days of Defendant

  Cornerstone Hospital of West Monroe, LLC’s first receipt on March 14, 2014, though

  service or otherwise, of the initial pleadings setting forth Plaintiffs’ claims for relief upon

  which the action is based. This removal notice is also being filed less than one year after

  suit was commenced in state court on February 28, 2014. Therefore, this removal notice

  is timely under 28 U.S.C. §1446(b).

                                                5.

          Pursuant to 28 U.S.C. §1441(a), the United States District Court for the Western

  District of Louisiana is the federal district court for the district embracing the place where

  the state court suit is pending.

                                                6.

          Defendant Cornerstone Hospital of West Monroe, LLC, through undersigned

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  counsel, will serve by mail a notice of the filing of this removal notice to Plaintiffs and

  will cause a copy of this removal notice to be filed with the Clerk of Court of the 4th

  Judicial District Court for the Parish of Ouachita, State of Louisiana, as required by 28

  U.S.C. §1446(d).

                                               7.

         This Court has original jurisdiction over this suit pursuant to 28 U.S.C. §1332 and

  §1441 in that the Plaintiffs’ Petition for Damages, a redacted copy of which is attached

  hereto as Exhibit 1, involve claims between citizens of different states and the amount in

  controversy exceeds $75,000.00, exclusive of interest and costs.

                                               8.

         Although the Plaintiffs plead no specific amount of damages in their prayer for

  relief, in conformity with Louisiana Code of Civil Procedure Article 893, Defendant

  Cornerstone Hospital of West Monroe, LLC reasonably believes, based on the

  allegations set for the Plaintiffs’ Petition for Damages, that the amount in controversy

  exceeds the jurisdictional minimum amount of $75,000.

                                               9.

         This lawsuit involves claims for personal injury and wrongful death. Plaintiffs

  allege that Defendant was negligent in the care delivered or care which should have been

  delivered to their father, James Quinn, causing him suffer pain and mental anguish, and

  causing Plaintiffs to suffer mental/emotional pain and anguish, medical expenses, loss of

  ability to enjoy life as they had prior to the complained of incident, and burial expenses.

  Therefore, upon information and good faith belief, the total amount of damages claimed

  by Plaintiffs exceeds the jurisdictional amount of $75,000, exclusive of interest and costs.

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                                                10.

        The Plaintiffs’ original Petition for Damages names only one Defendant:

  Cornerstone Hospital of West Monroe, L.L.C. (“Cornerstone”), improperly named as

  Cornerstone Hospital of West Monroe.

                                                11.

        Complete diversity of citizenship exists between Plaintiffs and Defendant in that:

        (a) Upon information and good faith belief, the named three of the named

            Plaintiffs (Vanessa Green, Tawatha Green and Tony Green) are of the age of

            majority and are residents/domiciliaries of Lake Providence, Louisiana, and

            the fourth named Plaintiff (Iesha Green) is of the age of the majority and is a

            resident/domiciliary of Monroe, Louisiana.           (See Exhibit 2, Affidavit of

            Deuce Eppinette; and Exhibit 3, Affidavit of Dyar Eppinette);

        (b) The citizenship of a limited liability company (“LLC”) is determined by the

            citizenship of all its members. Harvey v. Grey Wolf Drilling Co., 542 F.3d

            1077, 1081 (5th Cir. 2008). Here, Cornerstone Hospital of West Monroe,

            LLC is a citizen of Delaware and Texas based on the following:

                    (1) Defendant Cornerstone Hospital of West Monroe, LLC is a

            Delaware limited liability company, and its sole member is CS Healthcare

            Louisiana, LLC.        (See Exhibit 4, website printout from the Delaware

            Secretary of State for Cornerstone Hospital of West Monroe, LLC; and

            Exhibit 5, “Joint Consent of Sole Member and Board of managers in Lieu of

            Meeting of Cornerstone Hospital of West Monroe, LLC”); 1


  1     The principal business office of Cornerstone Hospital of West Monroe, LLC is located at 2200
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                        (2) CS Healthcare Louisiana, LLC is a Delaware limited liability

               company, and its sole member is Cornerstone Healthcare Group Holding, Inc.

               (See Exhibit 7, website printout from the Delaware Secretary of State for CS

               HealthCare Louisiana, LLC; and Exhibit 8, “Joint Consent of Sole Member

               and Board of Managers in Lieu of Meeting of CS Healthcare Louisiana,

               LLC”); 2 and

                        (3) Cornerstone Healthcare Group Holding, Inc. is a domestic

               corporation incorporated on the State of Delaware, with its principal place of

               business (i.e., where the corporation’s high level officers direct, control and

               coordinate the corporation’s activities) 3 and its corporate headquarters located

               at 2200 Ross Avenue, Suite 5400, in Dallas, Texas 75201.4 (See Exhibit 10,

               Affidavit of Kurt Schultz, Treasurer of Cornerstone Healthcare Group

               Holding, Inc.; and Exhibit 11, website printout from the Delaware Secretary

               of State for Cornerstone Healthcare Group Holding, Inc.).


  Ross Avenue, Suite 5400, Dallas, Texas 75201. (See Exhibit 6, website printout from the Louisiana
  Secretary of State for Cornerstone Hospital of West Monroe, LLC).

  2       The principal business office of CS Healthcare Louisiana, LLC is located at 2200 Ross Avenue,
  Suite 5400, Dallas, Texas. (See Exhibit 9, website printout from the Louisiana Secretary of State for CS
  Healthcare Louisiana, LLC).

  3
            For purposes of diversity of citizenship under 28 U.S.C. §1332 and §1441, “a corporation shall be
  deemed to be a citizen of every State and foreign state by which it has been incorporated and of the State or
  foreign policy where it has its principal place of business….” 28 U.S.C. §1332(c)(1). The phrase “principal
  place of business” in 28 U.S.C. §1332(c)(1) refers to the place where the corporation’s high level officers
  direct, control and coordinate the corporation’s activities. Hertz Corp. v. Friend, 130 S.Ct. 1181 (2010).

  4        The principal place of business and corporate headquarters of Cornerstone Healthcare Group
  Holding, Inc. and the principal business offices of Cornerstone Hospital of West Monroe, LLC and CS
  Healthcare Louisiana, LLC are all the same: 2200 Ross Avenue, Suite 5400, Dallas Texas. (See fns. 1 &
  2, supra).
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                                          PRAYER

         WHEREFORE, considering the premises, Defendant Cornerstone Hospital of

  West Monroe, LLC respectfully prays that this removal notice be deemed good and

  sufficient and that the matter pending in the 4th Judicial District Court for the Parish of

  Ouachita, State of Louisiana, captioned as Vanessa Green, Tawatha Green, Tony Green

  and Iesha Green, Individually and on Behalf of Their Deceased Father, James Quinn

  and/or the Unopened Succession (Estate) of James Quinn v. Cornerstone Hospital of

  West Monroe, and bearing Docket No. 14-0610 (C3), be removed to the docket of this

  Honorable Court.


                                             Respectfully submitted,




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                                             LINDA M. UZEE           (Bar. No. 18701)
                                             The Preston Law Firm, L.L.C.
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                                                   Hospital of West Monroe, LLC




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                              CERTIFICATE OF SERVICE

          I hereby certify that, on April 11, 2014, a copy of the foregoing pleading has been
  electronically filed using the CM/ECF system which will provide notice to all counsel of
  record, and/or a copy has also been served on all counsel of record by email, facsimile or
  depositing same in the United States mail, properly addressed and postage prepaid.


                                               ____________________________________
                                                           Paul G. Preston




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